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                                                                             The parties' motion for settlement approval
                                                                             shall be due no later than January 22, 2021.


                                                                                                             x



                                                                                                  12/29/20



                                                                              December 29, 2020
VIA ECF
Hon. Edgardo Ramos
United States Magistrate Judge
United States Courthouse
Eastern District of NY


Re:     1:20 CV 4465 Narvaez v Black Label Salon


Your Honor:

      We represent Plaintiff Narvaez in the above-referenced action. First, the parties apologize to the
Court for failing to submit a fully executed Cheeks motion on the deadline set by the Court or
December 23, 2020.
      Because of the holidays, the snowstorm and other factors beyond the parties’ control, Plaintiff
and Defendants respectfully ask Court to extend the deadline to submit a fully briefed and executed
motion by January 22, 2021.

We thank the Court for its attention to this matter and wish Your Honor a very happy and joyous 2021.


                                                  Respectfully submitted,
                                                  STILLMAN LEGAL, P.C.

                                                  _/s/Lina Stillman
                                                  Counsel for Plaintiff




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